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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                              )
    In re:                                                    )        Chapter 11
                                                              )
    JOANN INC., et al.,1                                      )        Case No. 25-10068 (CTG)
                                                              )
                             Debtors.                         )        (Jointly Administered)
                                                              )

             GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
               AND DISCLAIMERS REGARDING MONTHLY OPERATING REPORT
              FOR THE PERIOD OF FEBRUARY 2, 2025 THROUGH MARCH 1, 20252

        On January 15, 2025 (the “Petition Date”), the above-captioned debtors and debtors in
possession (each, a “Debtor,” and collectively, the “Debtors”) filed voluntary petitions in the United
States Bankruptcy Court for the District of Delaware (the “Court”) commencing cases for relief under
chapter 11 of the Bankruptcy Code. On January 16, 2025, the Bankruptcy Court entered an order
authorizing the joint administration of these chapter 11 cases pursuant to Bankruptcy Rule 1015(b)
under the lead case In re JOANN Inc., et al., No. 25-10068 (CTG) [Docket No. 103]. On January 28,
2025, the United States Trustee for the District of Delaware (the “U.S. Trustee”) appointed an official
committee of unsecured creditors pursuant to section 1102(a)(1) of the Bankruptcy Code [Docket No.
198].

        The factual background regarding the Debtors, including their business operations, their
capital and debt structures, and the events leading to the filing of these chapter 11 cases, is set forth
in detail in the Declaration of Michael Prendergast, Interim Chief Executive Officer, in Support of
Chapter 11 Petitions and First Day Motions [Docket No. 5]. Additional information about these
chapter 11 cases, court filings, and claims information is available at the website maintained by the
Debtors’ claims and noticing agent: https://cases.ra.kroll.com/Joann2025.

       The Debtors have prepared and filed the attached monthly operating report and the exhibits
thereto (the “MOR”) for the period including February 2, 2025 through March 1, 2025 (the
“Reporting Period”) with the assistance of their advisors solely for the purpose of complying with the
monthly operating requirements applicable in the Debtors’ chapter 11 cases and the instructions
provided by the Office of the United Trustee for the District of Delaware. The financial information
contained herein is limited in scope, covers a limited time period, and is presented on a preliminary
and unaudited basis. As such, the MOR has not been subject to procedures that would typically be
applied to financial statements prepared in accordance with accounting principles generally accepted

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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech Solutions
      LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com, LLC (1594);
      JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030); JOANN Holdings
      2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address is 5555 Darrow Road,
      Hudson, Ohio 44236.
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      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Joint
      Chapter 11 Plan Of Joann Inc. And Its Debtor Affiliates [Docket 513].
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in the United States of America (“U.S. GAAP”) and does not include all of the information and
footnotes required by U.S. GAAP. Upon the application of such procedures, the financial information
could be subject to changes, which could be material.

        Solely to comply with their obligations to provide MORs during these chapter 11 cases, the
Debtors have prepared this MOR using the best information presently available to them, which has
been collected, maintained, and prepared in accordance with their historical accounting practices.
The MOR generally reflects operations and financial position of the Debtors on a non-consolidated
basis, in a form not maintained by the Debtors in the ordinary course of their business and is not
intended to fully reconcile to the consolidated financial statements prepared by the Debtors.
Accordingly, the amounts listed in the MOR will likely differ, at times materially, from the historical
consolidated financial reports. Because the Debtors’ accounting systems, policies, and practices were
developed to produce consolidated financial statements, rather than financial statements by legal
entity, it is possible that not all assets, liabilities, income, or expenses have been recorded on the
correct legal entity.

         The results of operations and financial position contained herein are not necessarily indicative
of results that may be expected for any period other than the Reporting Period and may not necessarily
reflect the Debtors’ future consolidated results of operations and financial position. Unless otherwise
noted herein, the MOR generally reflects the Debtors’ books and records and financial activity
occurring during the Reporting Period. Except as may be otherwise noted, no adjustments have been
made for activity occurring after the close of the Reporting Period.

        The MOR should not be relied upon by any persons for information relating to current or
future financial condition, events, or performance of any of the Debtors or their affiliates, as the
results of operations contained herein are not necessarily indicative of results which may be expected
from any other period or for the full year, and may not necessarily reflect the combined results of
operations, financial position, and schedule of receipts and disbursements in the future. The MOR
presents the Debtors’ best estimates for the Reporting Period, but there can be no assurance that such
information is complete, and the MOR may be subject to material revision. These notes, statements,
and limitations should be referred to, and referenced in connection with, any review of the MOR, of
which they comprise an integral and material part.

                                   RESERVATION OF RIGHTS

       The information furnished in this MOR includes normal recurring adjustments but does not
include all of the adjustments that typically would be made for interim financial statements presented
in accordance with GAAP. Although the Debtors made commercially reasonable efforts to ensure
the accuracy and completeness of the MOR, inadvertent errors or omissions may exist. Accordingly,
the Debtors hereby reserve all rights to dispute the validity, status, enforceability, or executory nature
of any claim amount, agreement, representation, or other statement set forth in this MOR. Further,
the Debtors reserve the right to amend or supplement this MOR in all respects, if necessary or
appropriate, but undertake no obligation to do so. Nothing contained in this MOR shall constitute a
waiver or any of the Debtors’ rights or an admission with respect to their chapter 11 cases or
otherwise.




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        For the reasons discussed above, there can be no assurance that the consolidated financial
information presented herein is complete, and readers are cautioned not to rely on the MOR for any
reason.

     The financial statements of the Debtors’ non-debtor affiliates have not been included in the
MOR. Unless otherwise indicated, all amounts in the MOR are reflected in U.S. dollars.

               SUPPORTING DOCUMENTATION AND CERTAIN
        ADJUSTMENTS, LIMITATIONS, METHODOLOGY, AND DISCLAIMERS

        While the Debtors do not restate the above notes and reservations or rights in their entirety
here, such notes and reservations apply to the entire MOR and each individual response or other item
included in the MOR. In addition to such notes and reservations, the Debtors offer the following
explanatory notes.

       Debtors’ Full-Time Employees. The number of Full-Time Employees by each entity has
been estimated using information from the payroll payments made in February 2025.

       Statement of Cash Receipts and Disbursements. Reported cash receipts and disbursements
exclude intercompany and debtor-to-debtor transactions, as provided in the instructions to the MOR.

       In addition, the escrow transfers for the weekly Debtor professional fee estimates under the
order authorizing and approving the Debtors’ postpetition use of cash collateral are not included, as
those funds will remain in the escrow account until each respective professional’s fee applications
are approved. When funds are transferred out of the escrow account, such disbursements will be
included as cash disbursements. For additional information on ending cash balances per the Debtors’
books and records, see the attached cash balances in the Statement of Cash Receipts and
Disbursements.

        Balance Sheet. As noted above, the Debtors have historically prepared financial statements
on a consolidated basis, and it is on this basis that the Debtors continue to prepare and report financials
in the ordinary course of their business. This MOR is prepared on an entity-by-entity basis. To
prepare a balance sheet for each Debtor solely for the purpose of complying with the monthly
operating requirements applicable in the Debtors’ chapter 11 cases and the instructions provided by
the Office of the United Trustee, the Debtors made certain adjustments to their consolidating balance
sheets, including but not limited to netting or reconciling certain intercompany balances, adjusting
cash balances to remove negative balances, and associating certain assets and liabilities with the
reasonably appropriate Debtor entity even in certain cases where such assets and liabilities were
associated with another entity in the Debtors’ consolidating trial balances.

        Statement of Operations. As noted above, the Debtors have historically prepared financial
statements on a consolidated basis, and it is on this basis that the Debtors continue to prepare and
report financials in the ordinary course of their business. This MOR is prepared on an entity-by-
entity basis. To prepare an income statement for each Debtor solely for the purpose of complying
with the monthly operating requirements applicable in the Debtors’ chapter 11 cases and the
instructions provided by the Office of the United Trustee, the Debtors made certain adjustments to
their consolidating profits and loss statements


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        Part 1. Cash Receipts and Disbursements.

           Cash Receipts and Disbursements are presented based on the entity which owns the
            respective bank account into which the cash was received or from which the cash was
            disbursed. Note that disbursements include sweeps to Great American, debt payoffs and
            other transaction disbursements. Cash balance is as reported on the Company balance
            sheet

           The Debtors maintain and operate a centralized cash management system, under which all
            bank accounts are maintained by Debtors Jo-Ann Stores, LLC and Dittopatterns LLC. In
            the ordinary course of their business, the Debtors that maintain the Debtors’ cash
            management bank accounts may make payments on behalf of other Debtors, creating
            intercompany balances in the Debtors’ accounting system.3

        Part 2. Asset and Liability Status.

           Postpetition payables (excluding taxes). Postpetition payables figures have been
            estimated using commercially reasonable efforts by examining outstanding payables that
            were received in the reporting period and estimating other accrued expenses. As a result
            of the adjustments necessary to prepare information on an entity-by-entity basis, certain
            estimates and prorations were used to determine the amounts of postpetition payables to
            include for each Debtor entity in line f.

           Postpetition taxes payable. Postpetition taxes payable amounts include estimated sales
            tax based on sales during the reporting period.

           Prepetition priority debt. The Debtors have not historically and do not now maintain
            records of any claims entitled to priority under the Bankruptcy Code. Line L for Debtor
            Jo-Ann Stores LLC is comprised of unpaid severance claims up to the cap set forth in
            section 507(a)(4) of the Bankruptcy Code.

           Prepetition unsecured debt and total liabilities (debt). The Debtors have made
            commercially reasonable efforts to determine pre- and postpetition payables by Debtor
            entity for purposes of the MOR. Because, as noted above, the Debtors have historically
            prepared financial statements on a consolidated basis, and it is on this basis that the
            Debtors continue to prepare and report financials in the ordinary course of their business,
            certain estimates and prorations were used to determine the amounts of prepetition
            payables to include for each Debtor entity. Prepetition unsecured debt is comprised of all
            liabilities not included in the line items not in lines j, k, and l.




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    Such intercompany transactions are described in more detail in the Motion of Debtors for Entry of Interim and Final
    Orders (I) Authorizing the Debtors to (A) Continue to Operate Their Cash Management System, (B) Honor Certain
    Prepetition Obligations Related Thereto, (C) Maintain Existing Business Forms, and (D) Continue to Perform
    Intercompany Transactions, and (II) Granting Related Relief [Docket No. 11].
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Part 6. Postpetition Taxes.

   Postpetition taxes paid. During the Reporting Period, the Debtors remitted payments for
    certain taxes in the ordinary course of business, which payments included certain amounts
    on account of prepetition taxes authorized to be paid under the order granting the Debtors’
    first-day motion to pay certain prepetition taxes [Docket No. 341].

   Postpetition employer payroll taxes accrued. The accrued payroll tax set forth on line d
    is estimated using accrued employer payroll taxes from the February 26, 2025 payroll run.
    Note that the Debtors are up to date on all payroll taxes and the amount shown represents
    accrued but not yet due payroll taxes

   Postpetition other taxes accrued and postpetition other taxes paid. The amounts set forth
    in line f and line g are limited to tax payments and do not include payment of business
    license and similar fees.

Part 7. Questionnaire.
 Question a. In accordance with relief granted by the Court the Debtors have made certain
   payments on account of prepetition claims. Further details regarding the relief requested,
   the relief granted, and the payments projected to be made by the Debtors is set forth in the
   applicable motions and orders.




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Consolidating Trial Balance Summary
March 1, 2025



                                                                                 Jo-Ann Stores    Needle Holdings     JOANN Ditto                                                                 JOANN Holdings 1, JOANN Holdings 2,                                            Creative Tech
                                           Jo-Ann Stores, LLC Joann.com, LLC Support Center, Inc.      LLC            Holdings Inc.      Creativebug, LLC    WeaveUp, Inc.     Dittopatterns LLC       LLC               LLC               JOANN Inc.      JAS Aviation, LLC     Solutions LLC
Cash                                       $       48,434,390 $              - $               - $                - $                - $                 - $                - $           165,863 $               - $               - $                -   $                - $                 -
Accounts Receivable                                   366,981        1,752,689                 -                  -                  0             235,692             3,657                    -                 -                 -                  -                    -                   -
Prepaid Income Tax                                  3,275,143                -                 -                  -                  -                   -           987,142              151,525                 -                 -          1,437,299                    -             270,608
Prepaid Expenses                                   16,176,666                -                 -                  -                  -                   -                  -                   -                 -                 -                  -                    -                   -
Inventory                                         474,445,909           80,348                 -                  -                  -                   -                  -                   -                 -                 -                  -                    -                   -
Property and Equipment Net                        258,286,748          880,676        15,553,486                  -             6,476               65,835           513,998                    -                 -                 -                  -                   (0)                  -
Operating Lease Assets                            664,477,255           26,875        12,152,012                  -                  -              56,595                  -                   -                 -                 -                  -                    -                   -
Goodwill                                           72,985,741               (0)                0                  -                  -                  (0)                 -                   -                 -                 -                  -                    -                   -
Intangible assets                                 152,135,415                -                 -                  -                  -           4,377,083                 (0)                  -                 -                 -                  -                    -                   -
Net Intercompany                                   79,763,469       74,768,239       (15,031,329)     (126,695,264)          (506,476)           1,054,585        (1,288,053)             376,414                 -                 -         27,068,634                    -            (270,608)
Investment In Subsidiaries                                  -                -                 -       126,695,264                   -                   -                  -                   -      286,371,461       286,371,461         286,371,461                    -                   -
Other assets                                       17,240,735          597,338                 -                  -           500,000            5,606,201                  -                   -                 -                 -                  -                    -                   -
Total Assets                               $    1,787,588,453 $     78,106,165 $      12,674,169 $               0 $                (0) $       11,395,991 $         216,744 $            693,802 $    286,371,461 $     286,371,461 $       314,877,394   $               (0) $                0


Accounts Payable                           $     361,771,896 $                - $               -   $                -   $             -    $      1,809,961   $        143,891 $      580,537   $              -   $              -   $               - $                 -   $                    -
Accrued Interest                                  13,402,010                  -           354,792                    -                 -                   -                  -              -                  -                  -                  (0)                  -                        -
Accrued Income Taxes                                 213,601                  -                 0                    -                 -                   -                  -              -                  -                  -                   0                   0                        -
Other Accrued Expenses                            63,701,467         14,105,167                 -                    -                 -           2,881,689             72,853        113,265                  -                  -                  (0)                  -                        -
Operating Lease Liabilities - Current            148,249,982             26,875         2,729,976                    -                 -              56,753                  0              -                  -                  -                   -                   -                        -
Other Short Term Debt                                     (0)                 -                 -                    -                 -                   -                  -              -                  -                  -                   -                   -                        -
Long-Term Debt                                             0                  -                 -                    -                 -                   -                  -              -                  -                  -                   -                   -                        -
Operating Lease Liabilities- Non-Current         522,159,594                 (0)        9,589,401                    -                 -                   0                  -              -                  -                  -                   -                   -                        -
Deferred Income Taxes - Liabilities               53,367,427          1,499,039                 -                    -                 -           1,294,265                  -              -                  -                  -                   -                   -                        -
Other Long-Term Liabilities                       13,351,734                  -                 -                    -                 -              14,351                 (1)             -                  -                  -                   -                   -                        -
Total Liabilities                              1,176,217,711         15,631,081        12,674,169                -                 -               6,057,020            216,744        693,802                -                  -                     0                   0                    -
Shareholders' Equity                             611,370,742         62,475,084                 -                    -                 -           5,338,971                  -              -        286,371,461        286,371,461         314,877,394                   -                        -
Total Liabilities+ Equity                      1,787,588,453         78,106,165        12,674,169                -                 -              11,395,991            216,744        693,802        286,371,461        286,371,461         314,877,394                   0                    -




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P&L
February 2, 2025- March 1, 2025


                                                                    Jo-Ann Stores    Needle Holdings      JOANN Ditto                                                               JOANN Holdings 1, JOANN Holdings 2,                                                  Creative Tech
                              Jo-Ann Stores, LLC Joann.com, LLC Support Center, Inc.      LLC             Holdings Inc.      WeaveUp, Inc.     Creativebug, LLC Dittopatterns LLC        LLC               LLC             JOANN Inc.           JAS Aviation, LLC        Solutions LLC
Sales                          $     301,781,623 $      8,998,212 $               - $                - $                - $                -   $         291,197 $          16,688 $               - $               - $                    -   $                -   $                   -
Cost of Goods Sold                  (125,174,586)      (5,937,625)              -                  -                  -                  -               (48,937)              -                 -                 -                    -                      -                    -
Selling, General & Admin. Exp        (82,351,758)      (2,207,096)        7,304,774                -               (2,581)               -              (128,435)          (33,537)              -                 -                    -                      -                    -
Depreciation & Amortization           (4,213,932)               (0)        (431,371)               -                  -                  -               (19,047)              -                 -                 -                    -                      -                    -
Reorganization Expenses                      -                -                 -                  -                  -                  -                   -                 -                 -                 -                    -                      -                    -
Interest Expense                     (15,038,956)             -                 -           (1,536,816)               -                  -                   -                 -                 -                 -                    -                      -                    -
Income Tax Provision                         -                -                 -                  -                  -                  -                   -                 -                 -                 -                    -                      -                    -
Equity Earnings                              -                -                 -                  -                  -                  -                   -                 -                 -                 -                    -                      -                    -
Net Income                     $      75,002,391 $        853,491 $       6,873,403 $       (1,536,816) $          (2,581) $               -   $          94,778 $         (16,849) $              - $               - $                    -   $                -   $                   -




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RECEIPTS AND DISBURSEMENTS
February 2, 2025- March 1, 2025

                                                                    Jo-Ann Stores
                                                                   Support Center,       Needle Holdings           JOANN Ditto                                                                        JOANN Holdings 1, JOANN Holdings 2,                                                       Creative Tech
                         Jo-Ann Stores, LLC   Joann.com, LLC             Inc.                 LLC                  Holdings Inc.       Creativebug, LLC         WeaveUp, Inc.       Dittopatterns LLC      LLC               LLC                 JOANN Inc.           JAS Aviation, LLC         Solutions LLC

Cash Balance Beginning   $      42,597,066    $                -   $                 -   $                 -   $                   -   $                -   $                   -   $         159,534   $              -   $             -   $                    -   $                 -   $                   -

Receipts                 $      263,615,991 $                  -   $                 -   $                 -   $                   -   $                -   $                   -   $            7,704 $               -   $             -   $                    -   $                 -   $                   -
Disbursements                  (257,778,667)              -                     -                    -                         -                    -                      -                    (1,375)            -                 -                        -                     -                       -
Net Cash Flow            $        5,837,324 $                  -   $                 -   $                 -   $                   -   $                -   $                   -   $            6,329 $               -   $             -   $                    -   $                 -   $                   -

Cash Balance Ending      $      48,434,390    $                -   $                 -   $                 -   $                   -   $                -   $                   -   $         165,863   $              -   $             -   $                    -   $                 -   $                   -




                                                                                                                                                                                                                                                                                        3/19/2025 3:30 PM
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Bank Balances
March 1, 2025⁽¹⁾


                                                                            End of Period        Was the Account Opened
Debtor                                Bank           Redacted                Balance(2)            During the Period?
Jo-Ann Stores, LLC                   Key Bank        xxxx0108           $                   -              No
Jo-Ann Stores, LLC                   Wells Fargo     xxxx0804                                -             No
Jo-Ann Stores, LLC                   PNC             xxxx2447                                -             No
Jo-Ann Stores, LLC                   Heartland Bank xxxx3861                                 -             No
Jo-Ann Stores, LLC                   Regions Bank    xxxx9555                                -             No
Jo-Ann Stores, LLC                   U.S. Bank       xxxx3486                                -             No
Jo-Ann Stores, LLC                   Bank of America xxxx7647                                -             No
Jo-Ann Stores, LLC                   Bank of America xxxx7621                            3,190             No
Jo-Ann Stores, LLC                   Bank of America xxxx6208                       15,771,695             No
Jo-Ann Stores, LLC                   Bank of America xxxx1613                                -             No
JOANN Inc.                           Bank of America xxxx0274                                -             No
Jo-Ann Stores, LLC                   Bank of America xxxx6020                                -             No
Jo-Ann Stores, LLC                   Bank of America xxxx7650                                -             No
Jo-Ann Stores, LLC                   Bank of America xxxx8433                                -             No
Jo-Ann Stores Support Center, Inc.   Bank of America xxxx4663                                -             No
Jo-Ann Stores, LLC                   Bank of America xxxx9957                       32,306,059             No
Creative Tech Solutions LLC          Bank of America xxxx8554                                -             No
Jo-Ann Stores, LLC                   JPMorgan Chase xxxx0870                                 -             No
Jo-Ann Stores, LLC                   Wells Fargo     xxxx0665                                -             No
Jo-Ann Stores, LLC                   Bank of America xxxx4124                        1,444,380             No
Jo-Ann Stores, LLC                   Bank of America xxxx8584                                -             No
Ditto Patterns                       Bank of America xxxx2497                           61,895             No
Jo-Ann Stores, LLC                   Bank of America xxxx5059                                -             No
Jo-Ann Stores, LLC                   Bank of America xxxx7122                       18,210,872             No

Notes
(1) There are ~800 additional Individual Store Depository accounts that are not presented here. Their cash balances are
swept daily into the store depositary accounts
(2) Amounts below represent end of period bank balances, not GAAP cash balances as presented in the MOR.
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Summary of Assets Sold or Transferred




                                                                                                                  Payments Made From the Sale             Net Sale Proceeds Received on
Date of Sale or Transfer Description of Asset Sold or Transferred              Gross Sales Price                 Proceeds to or by Third Parties⁽¹⁾            Behalf of the Estate⁽²⁾

                         The right to liquidate substantially of the Company
       2/27/2025         assets including Inventory, Leases, IP, etc           $                   509,146,178   $                    440,886,178     $                        68,260,000



Notes
(1) Includes amount used for FILO & ABL payoff, stalking horse reimbursement and UCC settlement segregated fund amounts
(2) Includes full amount of wind down and central service budgets
